Opinion issued August 22, 2024




                                 In The

                           Court of Appeals
                                 For The

                       First District of Texas
                        ————————————
                           NO. 01-22-00783-CV
                         ———————————
        SCOTT SMITH AND MICHELLE WILLIAMS, Appellants
                                   V.
                    U.S. LAW SHIELD, LLC, Appellee
                                  and
                   U.S. LAW SHILED, LLC, Appellant
                                   V.
                         LANA BRYAN, Appellee



                 On Appeal from the 270th District Court
                          Harris County, Texas
                    Trial Court Case No. 2022-46778


                       MEMORANDUM OPINION
      On October 5, 2022, appellants, Scott Smith and Michelle Williams, filed a

notice of appeal from the trial court’s September 15, 2022 temporary injunction in

favor of appellee, U.S. Law Shield, LLC. On October 6, 2022, U.S. Law Shield,

LLC, filed a notice of appeal from the trial court’s September 16, 2022 order denying

its application for temporary injunction against appellee, Lana Bryan.

      On August 2, 2024, Smith and Williams filed a motion to dismiss their

appeal.1 In their motion, Smith and Williams represented that the “[p]arties entered

a Confidential Settlement and Release Agreement on May 17, 2024,” and the trial

court case had since been dismissed. Smith and Williams therefore requested that

the Court dismiss their appeal.

      The motion to dismiss filed by Smith and Williams did not include a

certificate of conference stating that they conferred, or made a reasonable attempt to

confer, with the other parties regarding the relief requested in the motion. See TEX.

R. APP. P. 10.1(a)(5). Additionally, the motion to dismiss filed by Smith and

Williams did not address the notice of appeal filed by U.S. Law Shield, LLC.

      However, on August 8, 2024, U.S. Law Shield, LLC filed a motion to dismiss

its appeal from the trial court’s September 16, 2022 order denying its application for

injunctive relief against Bryan. In its motion, U.S. Law Shield, LLC stated that the


1
      On July 18, 2023, the Court abated this appeal because the appellate record did not
      include an appendix containing a transcript of electronically recorded proceedings
      in the underlying litigation. See TEX. R. APP. P. 38.5(a).

                                           2
“parties ha[d] resolved this case,” and requested dismissal of its appeal. U.S. Law

Shield, LLC’s motion to dismiss also did not include a certificate of conference

stating that it conferred, or made a reasonable attempt to confer, with the other

parties regarding the relief requested in the motion. See TEX. R. APP. P. 10.1(a)(5).

      However, more than ten days have passed, and no party has expressed

opposition to either the motion to dismiss filed by Smith and Williams or the motion

to dismiss filed by U.S. Law Shield, LLC. See TEX. R. APP. P. 10.3(a)(2). Further,

no other party has filed a notice of appeal, and no opinion has issued. See TEX. R.

APP. P. 42.1(a)(2), (c).

      Accordingly, we reinstate this appeal to the Court’s active docket, grant the

motion to dismiss filed by Smith and Williams, and dismiss their appeal from the

trial court’s September 15, 2022 temporary injunction order. We further grant the

motion to dismiss filed by U.S. Law Shield, LLC and dismiss its appeal from the

trial court’s September 16, 2022 order denying its application for temporary

injunction against Bryan. See TEX. R. APP. P. 42.1(a)(1), 43.2(f).    We dismiss all

other pending motions as moot.

                                  PER CURIAM
Panel consists of Justices Goodman, Guerra, and Farris.




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